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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

HELMERICH & PAYNE INTERNATIONAL
DRILLING CO. and HELMERICH & PAYNE
DE VENEZUELA, C.A.,

1437 South Boulder Avenue

Tulsa, Oklahoma 741 19

Plaintiffs,
v.

BOLIVARIAN REPUBLIC OF VENEZUELA,
Dr. Carlos Escarra Malave
Procurador General de la Repilb1ica
Av. Los 11ustres, cruce con calle
Francisco lazo Marti
Edif`lcio Procuraduria General de 1a Repl'lblica
Piso 8., Urb. Santa Ménica
Caracas 1040
VENEZUELA

PETROLEOS DE VENEZUELA, S.A.,
Avenida Libertador La Campiria, Apaxtado
169
Caracas 1010-A
VENEZUELA

and PDVSA PETR<')LEO, S.A.,
Avenida Libertador La Campir~za, Apartado
169
Edif`lcio Pdvsa Torre Oeste, Piso 8
La Campina
Caracas 1060
VENEZUELA

Defendants.

 

 

Case NO.

COMPLAINT

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INTRODUCTION

l. This is an action brought by an American oil-drilling company and its wholly-
owned subsidiary against the Venezuelan government and its agencies and instrumentalities that
operate Venezuela’s state-owned oil company:

(a) under the expropriation exception to immunity under the Foreign Sovereign

lmmunities Act of 1976 (“FSIA”), 28 U.S.C. § l605(a)(3), to redress defendants’ 2010

seizure of Plaintiffs’ long-established Venezuelan oil drilling business, including eleven

fully operational oil drilling rigs and all associated equipment, infrastructure, and
personal and real property, without just compensation, in violation of international law;
and

(b) under the commercial activities exception to immunity under the FSlA, 28 U.S.C.

§ 1605(a)(2), to redress flagrant, ongoing breaches of contract by defendants, who are

engaged in commercial activity in Venezuela and the United States and whose breaches

of contracts with plaintiffs have caused and continue to cause direct effects in the United

States.

2. For more than 55 years and continuing until 2010, plaintiff Helmerich & Payne de
Venezuela, C.A. (“H&P-V”) and its predecessors have provided contract oil and gas drilling
services in Venezuela. H&P-V is a wholly owned subsidiary of Tulsa, Oklahoma-based plaintiff
Helmerich & Payne lnternational Drilling Co. (“H&P-IDC”). For the last 14 years, H&P-V has
provided contract drilling services exclusively to Venezuelan state-owned entities, including
defendants Petrc')leos de Venezuela, S.A. (“PDVSA”) and PDVSA Petroleo, S.A. (“PDVSA-P”)
that by law enjoy a monopoly on Venezuela’s oil reserves. Defendants the Bolivarian Republic

of Venezuela (“Venezuela”), PDVSA, and PDVSA-P hereafter are referred to collectively as

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“Defendants.” PDVSA and PDVSA-P are hereafter referred to collectively as “the PDVSA
Defendants.” Plaintiffs H&P-IDC and l-I&P-V are hereafter referred to collectively as “H&P” or
“Plaintiffs.”

3. On or about June 12, 2010, without prior warning, employees ofthe PDVSA
Defendants and, upon information and belief, armed and uniformed soldiers of the Venezuelan
National Guard, surrounded and unlawfully blockaded the business premises of H&P-V’s
drilling operations in Ciudad Ojeda, in the western region of Venezuela. On or about June 13
and 14, 2010, employees of the PDVSA Defendants and armed and uniformed soldiers of the
Venezuelan National Guard surrounded and unlawfully blockaded the business premises of
H&P-V’s drilling operations in Anaco, in the eastern region of Venezuela, at that time H&P-V’s
headquarters in Venezuela. On information and belief, in effectuating both blockades, the
employees of the PDVSA Defendants and the Venezuelan National Guard soldiers acted at the
direction of Defendant Venezuela and its anti-American and authoritarian President Hugo
Chavez and/or his l\/linister of Energy and Petroleum Rafael Ramirez. The blockade was for the
purposes of seizing H&P-V’s assets, preventing H&P-V from relocating any assets from its
yards, and intimidating H&P into forgiving long-outstanding debts of the PDVSA Defendants
and into continuing to provide drilling services to the PDVSA Defendants without having been l
paid for work that H&P-V had already completed on prior contracts On information and belief,
although ordered and directed by senior officials ofthe Venezuelan government, this seizure of
H&P’s assets was outside the scope of any colorable Venezuelan legal authority.

4. More than two weeks later, on June 29, 2010, with the unlawful blockades of
H&P-V’s business premises still in effect, Defendant Venezuela, acting through the Venezuelan

National Assembly, issued a “Bill of Agreement” declaring H&P-V’s property to be of “public

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benefit and good” and recommending that President Chavez issue a “Decree of Expropriation.”
That same day, President Chavez issued “Presidential Decree No. 7532,” directing Defendant
PDVSA “or its designee affiliate” to complete what President Chavez called the “forcible
taking” of H&P-V’s oil drilling rigs and “all the personal and real property and other
improvements made by [the] company” (hereinafter, “Expropriation Decree”). At Defendant
Venezuela’s and President Chavez’s direction, the PDVSA Defendants took possession of H&P-
V’s assets, and assumed all of H&P-V’s oil-drilling operations
5. With the expropriation complete, Minister Ramirez - who serves simultaneously

as Minister of Energy and Petroleum and as President of Defendant PDVSA ~ appeared at the
entrance to H&P-V’s yard in Anaco to address a large, pre-planned political rally of employees
of the PDVSA Defendants, armed and uniformed Venezuelan National Guard soldiers, and
others. l\/linister/President Rami’rez declared:

[W]e send our kind regards of solidarity to Commander Hugo

Chavez. Long live Commander Chavez! Long live the Bolivarian

Revolution! Long live the oil workers! At this moment . . . the

Venezuelan Government . . . is taking control over this drill
company which has been nationalized by the revolution.

The company Helmerich & Payne . . . has operated in our country
for many years . . . . Today, the Revolutionary Government took
control over that company. . . .

You have been here . . . guarding assets that now belong to the
Venezuelan State. l acknowledge and appreciate your constant
watch in order to protect the people’s interests . . . . Revolutionary
salutation: Socialist Nation or Death. We shall be victorious!

l\/linister/President Ramirez also condemned what he called H&P’s “foreign gentlemen
investors” and announced that employees of “this American company” would now “become part

ofthe payroll” of PDVSA.

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6. These events culminated Defendants’ unlawful treatment of “this American
company” that had begun long before Minister/President Ramirez’s inflammatory rhetoric on
July 2, 2010. Beginning in late 2008 and 2009, despite the fact that H&P-V had fully performed
all of its obligations under the relevant contracts, the PDVSA Defendants began systematically to
breach those contracts Although contractually obligated to pay at clearly established rates, the
PDVSA Defendants _ knowing that Venezuelan courts would not protect H&P’s commercial
rights - simply refused to pay as required under the contracts. The PDVSA Defendants’
unexcused failure to pay for H&P’s oil drilling services has resulted in over $32 million in
unpaid invoices, and Defendants have expressed no intention of fulfilling their contractual
obligations

7. H&P cannot and will not receive just compensation for their seized business and
property under Venezuelan law through the Venezuelan courts. Nor can they or will they receive
justice in Venezuelan courts for Defendants’ blatant breaches of contract. The Venezuelan
courts are politically controlled by President Chavez and the executive branch of Defendant
Venezuela, and for all practical purposes never rule against the Venezuelan government
According to the United States Department of State, the appellate court that would have
jurisdiction over this case if it were tried and appealed in Venezuela has “ruled in favor ofthe
government in 324 of the 325 cases brought by private citizens against the government.” See
U.S. Department of State, 2009 Human Rights Report: Venezuela (l\/Iar. 1 1, 2010). On
information and belief, the _sole case decided by that court in favor of a private party against the
government was later annulled by the Constitutional Chamber of the Supreme Tribunal of
Justice, which invoked a special power that had never before been used in Venezuelan judicial

history. President Chavez exercises complete control overjudges and thejudicial system. At

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President Chavez’s direction, a simple majority of the National Assembly appoints and removes
the highest court’sjudges, who, in turn, have the power to remove lower courtjudges without
cause, and regularly do so for political reasons and to maintain control over judicial rulings. As
a result, President Chavez demands and receives judges’ loyalty. Upon information and belief,
no U.S. company has ever prevailed in Venezuelan courts in a civil action for damages against
the Chavez regime.

8. Where, as here, a foreign state engaged in the unlawful taking of a U.S.-owned
business (al'ong with related property) and in commercial activity in the United States would
otherwise be able to rely on corrupt political control of its own judicial system to violate
international and commercial rights with impunity, the FSIA establishes jurisdiction in the
federal courts.

THE PARTIES
Plaintiffs

9. Plaintiff Helmerich & Payne lnternational Drilling Co. (“H&P-IDC”) is a
domestic and international oil and gas drilling company. lt is incorporated in Delaware and has
its principal executive office at 1437 South Boulder Avenue, Tulsa, Oklahoma 741 19. lt is
engaged in drilling of oil and gas wells for exploration and production companies all over the
world. lt has substantial onshore and offshore drilling operations in the United States, as well as
abroad, where it does business through branches or wholly owned subsidiaries in South America,
Africa, and the l\/liddle East. H&P-IDC is the wholly-owned subsidiary of Helmerich & Payne,
lnc. (“H&P, lnc.”), a public company whose shares are traded on the New York Stock Exchange.

H&P, lnc. was incorporated in 1940 and is the successor to a business originally organized in

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1920. lt is one of the oldest and most experienced land oil and gas drilling companies in the
world.

10. Plaintiff Helmerich & Payne de Venezuela, C.A. (“H&P-V”), a wholly owned
subsidiary of H&P-lDC, is an oil and gas drilling company. lt is incorporated in Venezuela, had
its principal Venezuelan office in Anaco, Venezuela, and also used the offices of H&P-IDC at
1437 South Boulder Avenue, Tulsa, Oklahoma 741 19. Due to its ownership by a U.S. company,
H&P-V is expressly regarded and treated as a “foreign company” under Venezuelan law.
H&P-V is a U.S. company for purposes of international law.

Defendants

1 1. Defendant Bolivarian Republic of Venezuela (“Venezuela”) is a foreign state. lt
has been controlled by the regime of Venezuelan President Hugo Chavez since 1999.

12. Defendant Petroleos de Venezuela, S.A. (“PDVSA”) is an agency or
instrumentality of Venezuela. PDVSA is incorporated in Venezuela, with its principal executive
office at Avenida Libertador, La Campina Apartado 169, Caracas 1010-A, Bolivarian Republic
of Venezuela. PDVSA is a separate corporate entity from the Venezuelan government, but it is
wholly owned and controlled by Defendant Venezuela and was legislatively created in 1975 as
an instrument of Venezuela’s national oil policy. The Venezuelan legislature created PDVSA by
means of a statute entitled “Organic Law that Reserves the lndustry and Commerce in
Hydrocarbons to the State.” PDVSA is governed by public law in Venezuela, and Venezuelan
law requires that oil and gas activities be undertaken for the public welfare and in the social
interest. PDVSA is required by law to follow the Ministry of Energy and Petroleum’s
guidelines, plans, and strategies, as well as the norms issued by the National Development Plans

for the hydrocarbon sector. PDVSA is neither a citizen of a State of the United States, nor

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created under the laws of any third country. Thus, PDVSA is an agency or instrumentality of
Venezuela under 28 U.S.C. § 1603(b).

13. Defendant PDVSA Petroleo, S.A. (“PDVSA-P”) is an agency or instrumentality
of Venezuela. PDVSA-P is incorporated in Venezuela, with its principal executive office at
Avenida Libertador, Edificio Pdvsa Torre Oeste, Piso 8, La Campifla, Caracas 1060, Bolivarian
Republic of Venezuela. PDVSA-P was created under a resolution of the Venezuelan Ministry of
Energy and l\/lines, and is required to follow the polices, guidelines, and direction of the
Venezuelan government, making its activities public in nature. PDVSA-P is governed by public
law in Venezuela and Venezuelan law requires that oil and gas, i.e., “hydrocarbon,” activities be
undertaken for the public welfare and in the social interest PDVSA-P is the exploration and
operating arm of PDVSA, which, in turn, was created as an instrument of the Venezuelan state’s
oil policy. PDVSA-P is a wholly owned subsidiary of PDVSA. PDVSA-P is controlled by
PDVSA and Venezuela. PDVSA-P is neither a citizen of a State of the United States, nor
created under the laws of any third country. Thus, PDVSA-P is an agency, instrumentality, or
organ of Venezuela under 28 U.S.C. § 1603(b). _

JURISDICTION AND VENUE

14. This Court has subject matter and personal jurisdiction pursuant to 28 U.S,C.
§ 1330 and 28 U.S.C. § 1602 et seq., including the expropriation exception to immunity under 28
U.S.C. § 1605(a)(3) and the commercial activity exception to immunity under 28 U.S.C.
§ 1605(a)(2).

15. Venue is proper in this District pursuant to 28 U.S.C. § 1391 (d) (authorizing an
action against an alien in any district) and 28 U.S.C. § 1391(f)(4) (authorizing civil actions

against a foreign state or instrumentality in the District of Columbia).

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FACTS COMMON TO ALL COUNTS
A. Plaintiffs’ Oil Drilling Business in Venezuela

16. H&P-IDC or its predecessor has been operating in Venezuela through wholly
owned subsidiaries - H&P-V and its predecessors - since 1954. H&P-V began performing oil
and gas drilling operations for the PDVSA Defendants in the 1970s, and did so continuously
until Defendants expropriated H&P-V’s business in 2010. F rom the late 19905 until 2010, H&P-
V performed contract drilling services exclusively for the PDVSA Defendants and their
affiliates

17. H&P-V provided the full range of contractual oil drilling operations to
Defendants. Once Defendants selected and prepared the drilling sites, H&P-V transported its
drilling equipment to the sites, assembled the drilling rigs and related components,'and
commenced drilling.

18. The geological conditions and the location ofthe oil or gas reserves dictate the
depth of a well and the type of drilling equipment required to reach the “pay zone” at a given
drilling site. ln Venezuela, the geological conditions often require deep wells because the “pay
zone” can be 18,000 to 22,000 feet below the surface. ln light ofthese conditions, the PDVSA
Defendants have required a reliable drilling company with specialized equipment, capable of
generating very high horsepower and reaching depths of roughly four miles underground H&P
is one of few such companies in the world, and even fewer operating or willing to operate in
Venezuela.

19. President Chavez stated in the Expropriation Decree that “the depth of the wells

to be drilled in the national territory . . . and the local geological structures require drilling

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equipment capable of generating [two to three thousand] horsepower, as well as high mechanical
stress.” Such equipment is rare and in high demand. As President Chavez recognized in the
Expropriation Decrce, “[t]he availability of [such] drilling equipment . . . is very low both in the
country and at world level, and the lack thereof would affect [Venezuela’s national oil drilling]
Plan.”

20. Defendant PDVSA issued a press statement, dated July 2, 2010, stating that H&P-
V’s drilling rigs ‘.“are specialized drills we need for more complex sites deeper [sic] The
drills will be very useful’ According to the depth and geometry of the wells to be drilled
there are required teams [sic] of three thousand horsepower capacity, due to high mechanical
stress occurring in the area.” See PDVSA Press Release, An Act of Social Justice Represents
Nationalization of Drills (July 2, 2010).

21. ln order to meet these drilling requirements, H&P-V obtained from H&P-IDC
some of the largest, most powerful, and deepest-drilling, land-based drilling rigs available
Specifically, each of the “big rigs” H&P-V utilized in Venezuela was capable of generating
2,000 to 3,000 horsepower, hoisting up to 1.6 million pounds, drilling to depths of25,000 to
30,000 feet, and handling the difficult geological conditions in Venezuela. Big rigs are
comprised ofa complex array ofcomponents, generally including among other things, a 160-foot
drilling mast or derrick, a large drilling substructure, five 1,200 horsepower engines, a silicon-
controlled rectifier or “SCR,” several large generators, a top drive, drawworks, hoisting
apparatus, blowout preventer, rotating equipment, drillstrings, three 1,600 horsepower mud
pumps, 2,000-barrel mud tanks, pipes, hoses, and other parts and equipment

22. Once the drilling rigs and other components were assembled, H&P-V drilled in

stages to pre-set depths thousands of feet below the surface; the final depths of H&P-V’s wells

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were roughly four miles underground Depending on the conditions, it typically took H&P~V
between 6 and 12 months to drill a well.

23. ln the final stage of H&P-V’s drilling process, H&P-V completed the well so that
oil would flow upward in a controlled fashion during an ensuing production phase. lt was then
possible for the PDVSA Defendants to install their production equipment, open the valves atop
the well head, and extract the oil from the new well.

24. Upon completing a well, l-l&P-V typically disassembled its equipment,
transported it to a new drill site designated by the PDVSA Defendants, and reassembled it to
begin drilling a new well. lt could take up to 30 days or more to move from one drilling site to
another. The process of disassembling, transporting, and reassembling each big rig and its
components was a very labor-intensive, time-consuming, and expensive process

25. H&P-V also owned a substantial infrastructure needed to maintain, repair,
operate, and transport the drilling equipment to the drilling sites selected by the PDVSA
Defendants This included real property ~ yards where vehicles could be parked and rigs could
be maintained, repaired, upgraded, and stacked; office buildings for company administration;
warehouses for spare parts and equipment; and housing and dining accommodations for drilling
rig workers and other employees lt also included personal or movable property - more than 100
vehicles to transport employees, parts, and equipment; fire and safety equipment; drilling
machinery; furniture and supplies; and a vast inventory of spare parts and other equipment

26. Defendants have expropriated and now operate all eleven drilling rigs and all of

the supporting infrastructure; yet, they have not paid Plaintiffs for any of it.

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27. Until the expropriation occurred, H&P had been among the few companies in the
world with the drilling rigs, equipment, infrastructure, employees, and experience necessary to
reliably and effectively provide drilling operations in Venezuela.

28. H&P had dutifully performed oil drilling operations for the PDVSA Defendants
for years, but the PDVSA Defendants had become increasingly unreliable since President
Chavez took office, especially after he quelled a 2002-03 strike at PDVSA, and replaced
thousands of PDVSA employees with less experienced workers and executives who were vetted
Chavez loyalists

29. ln the years that followed, the PDVSA Defendants took a new approach to the
relationship with H&P. Knowing that the government-controlled courts would allow them to do
so with impunity, the PDVSA Defendants refused to make timely payments in utter disregard of
their contractual obligations The new approach by the PDVSA Defendants ultimately led to the
accumulation oftens ofmillions of U.S. Dollars in unpaid invoices, the unlawful blockades of

H&P-V’s yards, and the uncompensated, forcible taking of H&P’s entire business in Venezuela.

§. The Drilling Contracts

30. H&P-V’s oil drilling contracts and contract extensions covered multi-well, multi-
year drilling projects for Defendants Ten drilling contracts - each relating to a different l-l&P-V
rigl - are at issue in this action;

Contract No. 4600013176: Rig HP-160

Contract No. 4600016461: Rig HP-135

 

l H&P had an eleventh rig operating in Venezuela during the relevant time period, which

also was expropriated by Defendants That rig _ Rig H&P 1 16 - was under contract to a different
Venezuelan government-owned oil company, Boqueron, S.A. That contract is not within the
scope of this Complaint.

_ 12 _

Contract No.
Contract No.
Contract No.
Contract No.
Contract No.
Contract No.
Contract No.

Contract No.

4600017135:

4600017140:

4600017141:

4600017142:

4600017143:

4600017145:

4600017146:

4600017147:

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Rig HP~i 13
Rig HP-i 15
Rig HP-127
Rig HP-izs
Rig rip-129
Rig HP-iso
Rig HP-153

Rig i-IP~174.2

31. H&P negotiated the contracts with the regional division of the PDVSA
Defendants located in the region where the respective drilling rigs were intended to operate.

H&P negotiated one contract (Contract No: 4600016461) with the Western Division of the

PDVSA Defendants and the other nine contracts with the Eastern Division of the PDVSA

Defendants
32. PDVSA-P signed each drilling contract
33. All ten contracts were for a “fixed term,” meaning that they expired at the

conclusion of an agreed-upon period unless the parties agreed to an extension or an extension
occurred by the contract’s original terms For example, some of the contracts required
completion of any well still in progress at the conclusion of the original contractual term, and

extended the contract automatically through such well’s completion

 

2 The contracts enumerated in paragraph 30 and their attachments and amendments are

hereby incorporated by reference. Plaintiffs have not attached the contracts to the Complaint, to
avoid inconvenience to the court and parties, because the originals are in Spanish and too
voluminous when accompanied by English translations Plaintiffs will submit the contracts and
translations upon request or at an appropriate time.

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34. The parties anticipated that all ten contracts would be extended beyond their
original terms, as had occurred with prior contracts for many years prior to the confiscation of
H&P’s business; hence, the contracts contained renewal or extension provisions The ten
contracts at issue were originally signed in 2007 for initial periods ranging from five months to
one year, but all ten contracts were subsequently extended for additional periods

35. As is customary in the industry, all ten contracts provided for H&P-V’s drilling
operations to be performed on a “day-rate” contract basis Pursuant to this arrangement, in
exchange for providing drilling equipment and operations to the PDVSA Defendants, the
PDVSA Defendants agreed to pay H&P-V a fixed rate per day that the drilling rig was in
operation (the “day rate” or “daily rate”). v

36. Alternative daily rates were also agreed upon and set forth in each contract to
cover periods during which H&P-V performed operations other than drilling, such as waiting for
materials, repairing drilling rigs, transporting drilling rigs between wells, and mobilizing or
demobilizing the drilling rigs

37. The agreed-upon daily rates for H&P-V, which are set forth at Exhibit E of each
contract, were partially set forth in U,S. Dollars and partially in Venezuelan currency (“Bolivars”
or “Bolivar Fuertes”).3 The value of the applicable daily rates varied from contract to contract,
with fluctuations in exchange rates, and as the parties renegotiated the rates overtime
Typically, the proportion of the applicable daily rates denominated in U.S. Dollars exceeded the

proportion denominated in Bolivars.

 

3 The Bolivar was converted to a new currency -the “Bolivar Fuerte” _ effective lanuary

1, 2008, after the initial contracts at issue were signed. The Bolivar Fuerte was worth 1,000
Bolivars, such that overnight the exchange rate to U.S. Dollars went from 2,150:1 (Bolivars to
Dollars) to 2.15:1 (Bolivar Fuertes to Dollars).

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38. H&P-V separately invoiced the amounts due in U.S. Dollars (“Dollar~based
invoices”) and the amounts due in Venezuelan currency (“Bolivar-based invoices”).

39. H&P-V’s single contract with the PDVSA Defendants in the western region
(Contract No. 4600016461) expressly set forth that H&P-V’s Dollar-based invoices would be
paid by PDVSA-P in U.S. Dollars in the United States whenever the foreign exchange control
measures in effect in Venezuela prevented H&P-V from exchanging local currency for U.S.
Dollars7 as necessary to meet certain U.S. Dollar obligations outside of Venezuela. Contract No.
4600016461, § 18.14 (“lf as a result of the exchange control measures established by the
competent authorities [H&P-V] is unable to obtain in a timely fashion the foreign currency
required to perform its obligations abroad related to the performance of this CONTRACT,
[PDVSA-P] agrees to pay in United States dollars the portion ofthe price ofthis CONTRACT
set in said currency . . . .”). This condition was met throughout the relevant period. Thus,
PDVSA-P was obligated to make payments to l-l&P in U.S. Dollars under Contract No.
4600016461.

40. The nine contracts with the PDVSA Defendants in the eastern region were
supplemented by a written agreement applicable to each contract - between H&P-V and PDVSA
on behalf of itself and PDVSA-P - under which the PDVSA Defendants PDVSA agreed to pay
61% of H&P-V’s Dollar-based invoices in U.S. Dollars to H&P-V’s designated bank account in
Tulsa, Oklahoma, while retaining discretion to pay the remaining 39% of H&P-V’s Dollar-based
invoices in Bolivars to H&P-V’s designated bank account in Caracas, Venezuela (the “61-39
agreement”).

41. The 61-39 agreement is dated June 2, 2008, and signed by representatives of

H&P-V and PDVSA. lt provides: “The invoices issued corresponding to the contract’s foreign

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currency component . . . shall be paid in actual U.S. dollars at 61%. This payment shall be made
abroad in the account specified by the contractor. The remaining portion, 39%, shall be paid
in equivalent bolivars at the official exchange rate.”

42. The contracts also contain provisions governing the payment of reimbursable
expenses incurred by H&P-V. The contracts required the PDVSA Defendants to reimburse
certain expenses without limitation, in the same currency in which those expenses were incurred
by H&P-V.

43. l\/loreover, each of the ten contracts at issue expressly rcquired, in Exhibit E, that
payments made by the PDVSA Defendants in U.S. Dollars be sent directly to H&P-V’s
designated bank account at the Bank of Oklahoma in Tulsa, Oklahoma. Thus, under each of the
contracts at issue, the PDVSA Defendants were required to make payments to H&P-V in U.S.
Dollars directly to H&P-V’s designated bank account at the Bank of Oklahoma in Tulsa,
Oklahoma. Each of the contracts also required that payments made by the PDVSA Defendants
in Bolivars be sent directly to H&P-V’s bank account at the l\/lercantil Bank in Caracas,
Venezuela.

44. Until the PDVSA Defendants stopped making payments entirely in 2010, they
approved invoices issued by H&P-V requiring payment in U.S. Dollars to H&P-V’s designated
bank account in Tulsa, Oklahoma, pursuant to the 61-39 agreement, and paid many but not all of
the invoices in the United States_albeit often late. Specifically, during the relevant time period,
the PDVSA Defendants made at least 55 payments totaling roughly 865 million into H&P-V’s
designated bank account in Tulsa.

45. According to the agreed-upon invoicing process, H&P-V issued pro forma

invoices which the PDVSA Defendants were required to approve and return within a certain

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period, specifying any disputed line items ln some cases, H&P-V rejected the proposed changes
and insisted upon payment; in others, H&P~V issued a new invoice that included only the
undisputed line items lnvoices were due to be paid within 30 calendar days of receipt by the
PDVSA Defendants

_C_. The PDVSA Defendants’ Breaches of Contract

46. Starting in 2007, the PDVSA Defendants fell substantially behind in their
payments to H&P-V. By August 2008, H&P-V’s receivables balance under the contracts at issue
had reached $63 million.

47. ln an attempt to address the overdue receivables and protect H&P-V’s liquidity,
H&P repeatedly sought and held meetings with the PDVSA Defendants to address the
outstanding invoices

48. These meetings occurred frequently, sometimes as often as one or more times per
month. At these meetings, the PDVSA Defendants never denied that they owed the amounts set
forth by H&P. To the contrary, the PDVSA Defendants acknowledged their debt and provided
assurances that payment on the outstanding invoices - which the PDVSA Defendants had in
many cases already pre-approved ~ was forthcoming

49. Notwithstanding the PDVSA Defendants’ repeated assurances H&P-V’s overdue
receivables balance under the contracts at issue continued to climb throughout 2008. By January
2009, it was approaching $100 million.

50. ln its earnings release dated lanuary 29, 2009, H&P, lnc. announced that it would
“cease[] operations on rigs as their drilling contracts expire” and not renew its subsidiary’s
contracts with the PDVSA Defendants absent an “improvement in receivable collections.” H&P

took this step to avoid continuing to perform work and incur expenses without compensation

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51. For their part, the PDVSA Defendants continued to fail to make payments to
H&P-V as invoices became due. As a result, H&P-V’s receivables under the contracts at issue
continued to climb, exceeding $l 13 million by June 2009.

52. Despite the PDVSA Defendants’ failure to perform in good faith and pay
outstanding receivables H&P-V finished its drilling obligations Upon completion of its drilling
obligations and as the contracts were expiring, H&P began winding down its operations in the
first half of 2009. Throughout this period, H&P continued to negotiate in goodfaith to achieve:
(1) payment of the PDVSA Defendants’ outstanding debt to l-l&P and (2) resumption of drilling
operations to make use of the idled rigs H&P made clear to the PDVSA Defendants that it
would not enter into new contracts or restart drilling operations unless the PDVSA Defendants
paid a substantial amount of their outstanding debt ~ including the U.S. Dollar component
payable in the United States

53. By November 2009, H&P-V had fulfilled each and every contractual obligation it
had under each ofthe drilling contracts Upon completion of each contract, H&P-V
disassembled the drilling rig and components transported it, and stacked it in H&P-V’s yards
pending substantial payment by the PDVSA Defendants

54. ln early 2010, Venezuela devalued its currency by a 2-to-1 ratio. Because a
portion of H&P-V’s accounts receivable from the PDVSA Defendants were denominated in
Bolivar Fuertes, this devaluation drastically reduced the value ofthat portion of H&P-V’s
accounts receivable

55. Discussions between H&P and the PDVSA Defendants culminated in a meeting
held on May 24, 2010 at the headquarters of PDVSA’s subsidiary, ClTGO Petroleum

Corporation, in Houston, Texas. The parties failed to resolve their differences Once again, the

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PDVSA Defendants did not contest the amount past due to H&P-V. Nonetheless, they rejected
H&P’s proposed payment plan and failed to offer a payment plan of their own. H&P declined to
enter into any new contracts until it received a substantial payment for unpaid invoices in
connection with the drilling operations performed under the old contracts

56. The PDVSA Defendants have not remitted any payments to H&P-V in the United
States since March 2010, and they have not remitted any payments to HP-V in Venezuela since
May 2010. The total amount of their outstanding debt to H&P-V, under the contracts at issue, is
currently at least $32 million. This amount includes invoices that the PDVSA Defendants pre-
approved for payment in U.S. Dollars to H&P-V’s designated account in Tulsa, Oklahoma.

57. H&P-V has fully performed under each of the contracts at issue.

58. The PDVSA Defendants are in breach of each of the contracts with H&P-V.

Q. Defendants’ Expropriation of H&P’s Business in Venezuela

59. On or about June 12, 2010 ~ more than two weeks prior to the National
Assembly’s “Bill ongreement” and President Chavez’s decree - employees ofthe PDVSA
Defendants surrounded and unlawfully blockaded the business premises of H&P~V’s drilling
operations in Ciudad Ojeda, in the western region of Venezuela.

60. On or about June 13 and 14, 2010, armed and uniformed soldiers ofthe
Venezuelan National Guard and employees of the PDVSA Defendants surrounded and
unlawfully blockaded the business premises of H&P-V’s drilling operations in Anaco, in the
eastern region of Venezuela, which was H&P-V’s headquarters in Venezuela.

61. On information and belief, the Venezuelan National Guard and the employees of
the PDVSA Defendants were sent without legal authority at the direction of Defendant

Venezuela, acting through President Chavez or his ministers - for the unlawful purposes of

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blockading and seizing H&P-V’s assets preventing any assets from being taken out of H&P-V’s
yards and intimidating H&P-V into entering into new drilling contracts and forgiving the debt of
the PDVSA Defendants

62. H&P personnel were permitted to enter and exit, but were not permitted to
remove any of H&P’s property from the yard. Armed soldiers from the Venezuelan National
Guard searched H&P vehicles and personnel as they exited the yard.

63. PDVSA’s Director of Services expressly informed H&P-V’s Administrative
Manager that Defendants intended the blockade to prevent H&P-V from removing its rigs and
other assets from its premises and to force H&P-V to negotiate new contract terms immediately
Among the demands the PDVSA Defendants asserted at this time was a demand that H&P~V
forgive the outstanding debt by retroactively renegotiating the contracts’ price terms

64. On June 17, 2010, citing the stress on H&P personnel, H&P’s Administrative
l\/lanager asked PDVSA officials to end the blockade, reduce the number of people involved,
and/or cease the restrictions No change occurred.

65. On June 23, 2010 ~ nearly a week prior to the National Assembly’s “Bill of
Agreement” and President Chavez’s Expropriation Decree ~ PDVSA issued a press release
stating that “[t]he Bolivarian Government, through Petroleos de Venezuela SA (PDVSA)
nationalized 1 1 drilling rigs” belonging to “the company Helmerich & Payne (HP), a U.S.
transnational firm.” PDVSA Press Release, Venezuela Will Assume Sovereign Control of 1 1
Drilling Rigs (June 23, 2010).

66. Two days later, on June 25, 2010 - still prior to the “Bill” and the decree -
PDVSA issued a press release titled, “Our workers have in custody the drilling rigs.” That

release states in part:

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The Bolivarian Government, through Petroleos de Venezuela
(PDVSA), continues on his [sic] sovereign action to recover 1 1
drilling rigs from the company Helmerich & Payne (H&P) . . . .

“The workers are guarding the drills” said the People’s l\/linister
for Energy and Petroleum and President of PDVSA, Rafael
Ramirez . . . .

The nationalization ofthe oil production drilling rigs from the
American contractor H&P not only will result in an increase of oil
and gas production in the country, but also in the release [sic] of
more than 600 workers and the increase of new sources of direct
and indirect employment in the hydrocarbon sector.

PDVSA Press Release, Our Workers Have in Custody The Drilling Rigs (June 25, 2010).

67. On June 29, 2010 - more than two weeks after Defendants began their ongoing
illegal blockades and effectively seized H&P’s ongoing Venezuelan business ~ Defendant
Venezuela, acting through the Venezuelan National Assembly, declared that the taking of all
eleven of H&P’s oil drilling rigs and associated property would be of“public benefit and good,”
and recommended to the “National Executive” that it issue a “Decree of Expropriation.”

68. Later that same day, on June 29, 2010, Defendant Venezuela, acting through
President Chavez, issued the Expropriation Decree, presidential decree number 7532. President
Chavez’s decree authorized the “forcible taking” of H&P’s assets including all eleven drilling
rigs and “all the personal and real property and other improvements made by [H&P].” lt
declared that “[t]he expropriatedproperty will become the unencumbered and unlimited property
of PDVSA, S.A., or its designee affiliate, as expropriating entity,” and it directed Defendant
PDVSA to “commence and carry out the expropriation procedure.”

69. According to the decree, the purpose of the taking was to “safeguard commercial
policies"’ “defend the economic activities of national public and private companies,” and enable
“PDVSA, its affiliates and [related] mixed companies” to meet their “production plans and

targets.” ln short, it was intended to advance the commercial interests of the Defendants

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70. The decree asserted that the drilling rigs were “vital” to Defendants because “the
depth of the wells to be drilled in the national territory . . . and the local geological structures
require drilling equipment capable of generating [two to three thousand] horsepower, as well as
high mechanical stress” and “[t]he availability of [such] drilling equipment . . . is very low both
in [Venezuela] and at world level.”

71. That same day,`on June 29, 2010, the PDVSA Defendants announced that a
notary public would conduct a judicial inspection of the rigs and other assets at the Anaco yard
(but apparently not the yard in Ciudad Ojeda). Given the uncertainty as to whether l-l&P would
ever again have access to its property, H&P-V hired a notary to accompany the PDVSA
Defendants’ notary; H&P-V’s notary simultaneously performed a rushed and incomplete
inspection in the limited time available that day.

72. On July 1, 2010, PDVSA-P filed, in the Venezuelan civiljudicial court ofEl
Tigre, an eminent domain proceeding relating to the ten drilling rigs and related real and personal
property confiscated in Anaco, in the east. l\/lore than a year has passed since PDVSA-P’s filing
ofthat case, but the initial “notice” or “edict” in that case still has not been published; as a result,
the process has been stalled for more than a year and H&P-V still has not been afforded the
opportunity to appear.

73. On July 1, 2010, PDVSA-P also filed, in the Venezuelan civil judicial court of
Cabimas, an eminent domain proceeding relating to the one drilling rig and related real and
personal property confiscated in Ciudad Ojeda, in the west. ln that case, eight months passed
before the initial “notice” or “edict” was published on l\/larch 1, 201 1; although H&P-V
subsequently appeared and was made a party, those proceedings have not progressed past the

earliest stage of the case.

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74. The next day, on luly 2, 2010, l\/Iinister/President Ramirez announced the
purportedly official seizure of the drilling rigs and all other real and personal property held by
H&P-V.

75. The seizure constituted a taking of the entirety of H&P’s Venezuelan business
operations including all ofits personal and real property, oil drilling rigs and equipment,
vehicles office equipment and other physical assets

76. On information and belief, from the time of that seizure, the PDVSA Defendants
have been operating H&P-V’s Venezuelan business as a going concern - employing not only the
real and personal property but also H&P’s drilling rig managers drilling rig workers and other
professionals who were trained by, and formerly worked for, H&P-V.

77. As documented by the notary on June 30, 2010, the expropriated assets from the
Anaco yard in the east include, among other things ten drilling rigs and related components
derricks, storage tanks funnels pumps blowout preventer valves cables pipes and tools
These drilling rigs and related parts were all in a good, operational state when they were
confiscated

78. The expropriated assets from the Ciudad Ojeda yard in the west include, among
other things one drilling rig and the related components parts and equipment, That drilling rig
and its related parts were also in a good, operational state when they were confiscated

79. A substantial amount of other equipment, property, and infrastructure was also
taken from H&P-V. For example, there were, among other things dozens of trucks vehicles
forklifts ambulances, firefighting equipment, fans motors hoses valves tires storage tanks

pumps generators and other parts and equipment After the taking, on information and belief,

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Defendants simply repainted H&P-V’s cars trucks and other equipment with their own PDVSA
colors and logos.

80. The scope of the taking also included substantial real property in Anaco,
including various trailers used as offices cooking and dining facilities and bedrooms; eight
houses and one clubhouse; warehouses for spare parts and equipment; and four office buildings ~
two for administrative functions one for human resources and one for medical services There
were confidential files in the office buildings but even many of those were taken by Defendants

v 81. Stripped of all of its productive assets H&P-V ceased to operate and no longer
exists as a going concern. Defendants took the entire business which they now operate as a
state-owned commercial enterprise

82. Defendants themselves have publicly stated that they intentionally took “the
company” when they took its assets For example, during his speech on July 2, 2010,
l\/linister/President Ramirez proclaimed that “the Venezuelan Government, through its
appropriate authorities is taking over this drill company which has been nationalized by the
revolution.”

83. A PDVSA press release, dated July 2, 2010, states that “l\/linister Ramirez
explained that this action will guarantee that the drills will be operated by PDVSA as a company
ofall Venezuelans, it also ensures the rights of former employees of H&P, who . . . now . . . will
become part of PDVSA,”

84. Defendants’ rhetoric and conduct demonstrates that the business was taken by
Defendants for the purpose of turning it into a state-owned and state-operated enterprise On

- information and belief, Defendants currently employ H&P-V’s assets and former employees to

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provide drilling and other services that H&P-V once provided in Venezuela. ln short,
Defendants now operate the assets and the going concern they took from H&P.

85. H&P no longer possesses any significant tangible property or maintains any
commercial operations in Venezuela. Having suffered the expropriation of an entire company
without compensation, H&P has suffered a loss that is cognizable under international law in a
U.S. court.

§. Defendants’ Failure To Compensate Plaintiffs For The Expropriation

86. Defendants have failed to provide any compensation, much lessjust
compensation under international law. For compensation to be “just” under international law, it
must be “prompt, adequate, and effective.”

87. Although more than a year has passed since PDVSA-P filed two eminent domain
actions relating to the confiscation of H&P-V’s assets in the east and west regions no
meaningful progress has been made ln the El Tigre proceedings in the East, H&P~V still has not
been served or made a party to the case ln the Cabimas proceedings in the West, H&P-V still is
in the initial stage ofthe case, which has stalled indefinitely. On information and belief, the
Defendants and their courts control the pace of these proceedings and have little or no incentive
to move the process along

88. Even ifthese cases were allowed to proceed, H&P would never receive due
process much less a fairjudgment on the prompt, adequate, and effective compensation to which
they are entitled under international law.

89. ln a recent sworn declaration submitted in another U.S. litigation, a Venezuelan
legal scholar provided his expert opinion regarding the decisions of Venezuela’s Political-

Administrative Chamber of the Supreme Tribunal of Justice, the highest court responsible for

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deciding appeals of cases brought by private parties against the government for “damages and
other compensation.” l-le studied the decisions of the Political-Administrative Chamber during
the 2007-08 time period and found the following:

~ The Chamber decided 89 contract cases brought by private parties against the
Venezuelan government - and the Venezuelan government prevailed in all 89 cases

0 The Chamber decided 5 contract cases brought by the Venezuelan government
against private parties - and the Venezuelan government prevailed in all 5.

0 The Chamber decided 366 petitions by private parties to nullify an administrative act
of the Venezuelan government and/or seek damages ~ and the Venezuelan
government prevailed in 365 out of 366 cases The only case to be decided for a
private party “was later annulled by the Constitutional Chamber of the Supreme
Tribunal of Justice, by using a special power that had never been used in Venezuelan
judicial history.”

Based on these and other data, the legal scholar stated: “[T]he conclusion seems obvious: the
Venezuelan contentious-administrative courts are not willing to rule against the State in any
case.” See Decl. of Antonio Conova Gonzalez at 10, Northrop Grumman v. Mz'm'stry of Defense,
ECF No. 160-3, Case 1:02-cv-00785-WJG-Jl\/1R, Dkt. (S.D. l\/liss. filed Dec. 7, 2009). Similar
conclusions are echoed by a broad spectrum of authorities According to the U.S. Trade
Representative, although the Venezuelan government has nationalized “[s]eventy-six companies
including several U.S.-owned firms,” pursuant to a l\/lay 2009 law relating to hydrocarbons
“none have received compensation to date.” U.S. Trade Representative, 201 1 National Trade
Estimate Report on Foreign Trade Barriers (l\/lar. 2010); see also Bureau of Economic, Energy
and Business Affairs, U.S, Department of State, 2011 ]nvestment Climale Statement: Venezuela
(l\/larch 201 1) (stating that it “do[es] not believe that any compensation has been paid to date” to
these nationalized companies).

90. According to the U.S. Department of Commerce, Defendant Venezuela

“maintains that it will compensate for nationalizations,” when, in reality, it has “seldom paid”

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any compensation to companies whose assets have been seized in recent years See U.S.
Department of Commerce, Doz'ng Business in Venezuela: 2011 Counz‘ry Commercz`al Guz`a’e for
U.S. Comparzz`es, at Ch. 6.

91. The U.S. Department of State reports that “of the companies with U.S. ownership
whose assets have been seized over the past couple of years President Chavez has offered
compensation but has seldom paid, often forcing companies to seek settlement through
international arbitration.” Bureau of Economic, Energy and Business Affairs U.S. Department
of State, 2011 lnvestmem‘ Cll`mate Slalemerit.j Venezuela (l\/larch 201 1).

92. According to Venezuela’s Association of Urban Property Owners (“APIUR”), the
Venezuelan government has paid compensation to only 5% of the 280 “urban property owners”
whose property it nationalized between 2008 and 201 1. Ultima Hora, 95% de Inmuebles
Expropz`ados No Han Sl`do Pagados (Jan. 10, 201 l).

93. The World Economic Forum, which ranks Venezuela the worst country in the
world in terms of property rights judicial independence, and the efficiency ofthe legal
framework for challenging government action, has recognized the “scarce propensity of the
[Venezuelan] government to pay reasonable compensation in the case of expropriation.” See
World Economic Forum, The Global Competitiveness Report, 2011 -201 2; Worch Economz'c
Forum Report.' Berzchmarkz`ng Natz`onal Az‘tractz'veness for Prl`vale lnvestmenl in Latz'n Amerl`cari
ln#aslruclure (2007).

94. The Heritage Foundation, in its most recent lndex of Economic Freedom report,
similarly found that “[l]and and other private holdings are expropriated by the [Venezuelan]
government arbitrarily and without compensation.” Heritage Foundation, 2011 lndex of

Economz`c Freea’om - Venezuela (emphasis added); see also The Economist: Exproprialz`orzs in

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Venezuela: Full SpeedAheaa’ (()ct. 29, 2010) (noting that although, “[l]egally, before a company
can be nationalised, the legislature must declare the expropriation ‘in the public interest,’ and the
target is entitled to present a defence and receive fair and prompt compensation,” but that
“[rz]one ofthis happens in practice.” (emphasis added)).

95. ln short, Venezuela does not pay prompt, adequate, or effective compensation to
those whose property it confiscates l\/loreover, due to the absence of judicial independence in
Venezuela, most plaintiffs - especially American companies ~ in practice have no legal recourse
through the courts of Venezuela. As set forth below, Venezuelan courts are politically
dominated by the Executive and do not provide impartial justice in any case in which the
government has an interest, including expropriation cases As Defendants are well aware,
Plaintiffs will never receive prompt, adequate, and effective compensation in Venezuelan
proceedings

96. l\/loreover, compensation in any amount awarded by a Venezuelan court would be
inherently inadequate because it would not actually be paid by the Venezuelan political
branches and, even ifit were paid, it would be in a non-convertible currency, which is
inadequate under international law.

E. Defendants’ Discriminatorv Conduct

97. H&P’s property was targeted and confiscated in part because of l-l&P’s U.S.
ownership and identity.

98. ln seizing H&P-V’s assets l\/linister/President Ramirez condemned “this
American company” and its “foreign gentlemen investors.”

99. Under Venezuelan law, various restrictions are placed on foreign investors

including limits on the types ofindustries in which they can invest.

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100. Venezuelan law also requires foreign investors to register their investments in
Venezuela with the Superintendent of Foreign lnvestment (z`.e., the “Superintendencia de
lnverseiones Extranjeras” or “SlEX”), which is part of the Venezuelan Finance l\/linistry.
Venezuelan law defines “foreign investment” broadly to include, among other things
“[c]ontributions from abroad, coming from foreign persons or companies destined to the capital
of a company, in freely convertible currency or in physical and tangible assets such as: industrial
plants new or refurbished machinery, spare parts raw material and intermediate products.”

101. As part of the registration process foreign investors must file with SlEX a
Foreign lnvestment Application Form (“Solicitud de Registro o Actualizacion de lnversion
Extranjera”). Similarly, the company receiving the “foreign investment” must file with SIEX a
Company Qualification Application form (“Solicitud o Actualizacion de Constancia De
Calificacion De Empresa”). H&P-IDC and H&P-V regularly complied with these requirements

102. Based on the rules governing foreign investment - and the fact that H&P-V is
100% U.S.-owned -the Defendants have deemed H&P-V to be a “foreign” company for
purposes of Venezuelan law. The Company Qualification Certificate that SIEX issued to H&P-
V states that “100% ofthe capital of [H&P-V] is property of [H&P-lnt’l].” lt also states that all
of H&P-V’s board members are “U.S. citizen(s)” and identifies them by name Finally it states
that “[H&P-V] is accordingly considered a FOREIGN COl\/IPANY at all relevant legal effects.”’

103. H&P-V thus was and is deemed to be a “foreign company” for all legal purposes
because 100% of its capital came from foreign investment received from its U.S. parent
corporation, H&P-IDC.

104. As a result oftheir character as U.S. entities H&P~IDC and H&P-V have been

subjected to discriminatory treatment by Defendants

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105. On the day that the Venezuelan National Assembly declared H&P-V’s oil drilling
rigs to be public property belonging to the state, Jesus Graterol, a Deputy in the Venezuelan
N.ational Assembly and President of the National Assembly’s Committee on Energy and l\/lines
mhwhmhmpmwnmofmenmmnm&mkmasmmng%nammmmmx\mdmhemsnwdmwofme
[U.S.] Department of State” on behalf of H&P, and trying to “subsidize the big business
transnational corporations so that they can promote what they know best to do, which is war, . . .
through the large military industry, of the Empire and its allies.” See Translation of lnterview on
Venezuelan VTV Television Network, June 29, 2010, available at
http://www.youtube.com/watch?v=_jbl5514HRw.

106. A Venezuelan state reporter publicly summarized the debate in this way: “We
rmnmdyoudmtmtmsnmedwcwbmecomnmesmi%uedwdedamnonofmmhchumemof
these eleven American rigs which, should this motion be approved, would then become part of
the energy machinery of Socialist Petroleos' de Venezuela.” See Translation of lnterview on
Venezuelan VTV Television Network, June 29, 2010, available al
http://www.youtube.com/watch‘?v=_jbl5514HRw.

107. A PDVSA press release condemned H&P, calling it a “U.S. transnational firm.”
See PDVSA Press Release, Recovered Drilling Rig Will Begin Operations in l\/lonagas (July 16,
2010)

108. Another PDVSA press release discusses the “nationalization ofthe oil production
dnmngdgsnomtheUSAcompmwcomwwmrH&P”amy%nmhmwmbmewms$mememsnmde
by spokesmen ofthe American empire_traced [sic] in our country by means ofthe oligarchy.”
See PDVSA Press Release, Petroleos de Venezuela lnforms the Venezuelan People (June 25,

2010).

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109. Yet another PDVSA press release announces that “l\/linister Ramirez explained
that this action will guarantee that the drills will be operated by PDVSA as a company of all
Venezuelans it also ensures the rights of former employees of H&P, who a year ago were
exploited and then dismissed by this American company, but now they will become part of
PDVSA.” See PDVSA Press Release, An Act of Social Justice Represents Nationalization of
Drills (July 2, 2010).

1 10. President Chavez and the Venezuelan government have expressed their overriding
hostility toward the United States As reported by the U.S. Department of Commerce, “[t]he
political relationship between Venezuela and the U.S. is characterized by harsh anti-U.S. rhetoric
by President Hugo Chavez.” See U.S. Department of Commerce, Doz'ng Business in Venezuela.'
2011 Country Commercl`al Gaide for U.S. Comparlies. As reported by the U.S. Department of
State:

U.S.-Venezuelan relations have been tense in recent years
President Chavez continues to define himself in opposition to the
United States using incendiary rhetoric to insult the U.S.
Government and U.S. influence in Latin America. President

Chavez ordered the expulsion ofthe U.S. Ambassador on
September 11, 2008

See Background Note: Venezuela (Feb. 8, 201 1), available at: http://)'vww.state.gov/r
/pa/el'/bgrz/$§ 766.htm.

1 1 1. ln September 2008, President Chavez ordered the expulsion ofthe U.S.
ambassador, accused the United States oftrying to start a coup and declared that the United
States should “[g]o to hell a hundred times.” The Guardian, Venezuela; Hugo Chavez Expels
U.S. Ambassador Amid Claims of Coup Plot (Sept. 12, 2008). ln September 2009, Chavez gave
a speech in which he declared that the United States is “the greatest terrorist in world history,”

adding that the “Yankee empire will fall. lt’s already falling, and will disappear from the face of

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the Earth, and it’s going to happen this century.” Russia Today, Hugo Chavez Kicks Off
Russian Visit with Emotional Speech at Moscow University (Sept. 10, 2009).

l 12. Venezuela’s anti-U.S. rhetoric and conduct extends to U.S. companies The U.S.
Department of Commerce reports the rising incidence of “anti-U.S. company bias in government
procurements” and “active discrimination against American products by government agencies
and government-owned companies.” See U.S. Department of Commerce, Dol'rzg Business irl
Venezuela.' 2011 Courltry Commercl'al Guz`a'e for U.S. Compam`es (l\/larch 201 1). The U.S.
Department of Commerce also warns U.S. exporters and investors in Venezuela to proceed
cautiously in light of current conditions including “anti-market orientation, and virulent anti-
U.S. rhetoric” in Venezuela. Ia’.

1 13. “[V]irulent anti-U.S. rhetoric,” has been directed at specific U.S. companies in
addition to H&P. For example, when Exxonl\/lobil suffered a legal setback in a case against
Venezuela, President Chavez declared it a “victory over the empire that fills us with national
pride.” See PDVSA Press Release, Hugo Chavez: A Victory Over The Empire That Fills Us
With National Pride (l\/larch 25, 2008). When the U.S. Department of State issued a statement in
support ofthat U.S. company, l\/linister/President Ramirez described it as “an act of economic
warfare” and accused this “transnational elite company” of“maneuver[ing]” on behalf ofthe
U.S. Government. See PDVSA Press Release, Behind Exxonl\/lobil’s l\/laneuvers is the United
States Government” (Feb. 13, 2008).

l 14. Antipathy to the United States and American companies pervades other aspects of
President Chavez’s government, including its foreign policy. For example, Chavez has
developed closer relationships with those countries that pose the biggest security threats to the

United States including lran and Syria, two U.S.-designated state sponsors of terrorism. The

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U.S. Department of State reports that “President Chavez has deepened relations with lran . . . by
signing multiple economic and social accords and publicly supporting lran’s controversial
nuclear program.” See Background Note: Venezuela (Feb. 8, 201 1), available at:
http.'//www.state.gov/r /pa/ez`/bgn/35 766/atm lie refers to lran as a close “strategic ally,”
condemns U.N. Security Council Resolutions that impose sanctions on that country, and recently
asserted that the Venezuelan Government “will back lran under any circumstances and without
conditions.” Icl. President Chavez has also formed closer ties with North Korea and Syria. Ial.

Q. Direct Effects in the United States

1 15. The PDVSA Defendants’ breaches of contract - and refusal to make contractually
obligated payments ~ have had direct and immediate effects in the United States including
payments that the PDVSA Defendants were obligated to make in the United States but failed to
make, H&P-V’s inability to declare and remit dividends to its U.S. parent corporation, and a
profound alteration of H&P-lDC’s management and support of H&P-V.

1 16. Ol)lz`gatz'ons to make payment in the United States The contracts parties’ course
of conduct, and contemporaneous documents reflect the obligations of the PDVSA Defendants to
make payments in U.S. Dollars into a designated bank account in Tulsa, Oklahoma. When the
PDVSA Defendants breached their contractual obligations the failure to make required
payments into the previously designated Tulsa, Oklahoma bank account had a direct effect in the
United States

1 17. Consistent with their obligations under the contracts pertinent amendments and
agreements the PDVSA Defendants made numerous payments into the Tulsa, Oklahoma bank

account When the PDVSA Defendants breached their contractual obligations payments that

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were to have been made to the bank account in Tulsa, Oklahoma were not made, having a direct
effect in the United States

1 18. The PDVSA Defendants’ agreement to pay a portion of the contracts in U.S.
Dollars into a designated U.S. bank account is reflected not only in the drilling contracts but also
in meeting minutes dated June 2, 2008, that memorialize that agreement and are signed by both
PDVSA and H&P-V. This 2008 agreement reiterated the terms of an earlier 2003 agreement, n
which similarly provided for a set percentage of the PDVSA Defendants’ payments to be
remitted in U.S. Dollars to a bank account in the United States

1 19. The parties’ invoicing practice also reflected the payment of U.S. Dollars in the
United States The process of payment began with H&P-V’s issuance of a pro forma. Where
required in light ofthe services specifically invoiced, the pro forma invoices issued by H&P-V l
reflected a demand for payment in U.S. Dollars which were to be remitted to the United States
under the contracts The PDVSA Defendants then reviewed and approved these pro forma
invoices at which point H&P-V issued an invoice Numerous pro formas and final invoices
confirm that the PDVSA Defendants accepted and - for a time ~ complied with its obligations to
remit payments to the United States under each of the contracts at issue

120. The PDVSA Defendants also instituted a mechanism to verify that, from their
perspective, the payments made in U.S. Dollars paid in the United States did not exceed the
contractually required levels These so-called “dollar audits” were conducted by the PDVSA
Defendants into 2009. The PDVSA Defendants’ failure to make the required U.S. Dollar
payments into the designated bank account in the United States had a direct effect in the United

States

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121. Divz`a’ena’s. H&P-V was part of an integrated corporate structure, wholly owned
by H&P-IDC - a U.S. corporation - which is in turn, wholly owned by H&P, lnc. - a U.S.
corporation listed on the New York Stock Exchange. Throughout the contractual relationship
with the PDVSA Defendants H&P-V remitted or attempted to remit dividends to H&P-lDC, its
U.S.-owned, U.S. parent corporation in the United States

122. H&P-V was expected to declare and remit dividends to H&P-IDC in the United
States and had an established practice of doing so, including in 2005 and in 2007. As recently
as 2008, H&P-V declared a dividend to be remitted to H&P-IDC, its parent company in the
United States and sought to have that dividend paid in U.S. Dollars in the United States pursuant
to the expectation of its U.S. parent company. The PDVSA Defendants’ breaches of the
contracts meant that dividends to be declared and remitted in the United States were not declared
and/or remitted, and thus had a direct effect on H&P-IDC, the U.S. parent corporation in the
United States

123. Thz'rcl Party Contracts. H&P-V depended on the influx of materials services and
personnel from the United States in order to perform its contract oil and gas drilling operations
for the PDVSA Defendants in Venezuela.

124. H&P-V routinely entered into third-party agreements with vendors suppliers and
services companies in the United States for the purpose of delivering goods and services from
the United States to Venezuela to permit H&P-V to perform its contracts with the PDVSA
Defendants

125. Payments for these third-party contracts often had to be made by H&P-V in U.S.

Dollars in the United States

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126. The PDVSA Defendants’ failure to honor their contractual payment obligations to
H&P-V directly impacted H&P-V’s ability to make these payments as well as the relationships
and obligations that H&P-V had with third-party vendors and service providers in the United
States. Because H&P-V was left without funds to pay the third parties in the United States in
U.S. Dollars H&P-IDC advanced the money in the form of corporate debt, issued payments and
maintained accounts and records to reflect H&P-V’s liabilities to H&P-IDC.

127. When, as a result of the PDVSA Defendants’ breaches of contract, H&P lDC was
compelled to pay third party vendors on H&P-V’s behalf, H&P-lDC suffered direct out-of-
pocket losses in the United States

128. There were direct effects in the United States when the PDVSA Defendants
refused to pay H&P-V as agreed and, as a result of that refusal to pay, H&P-V was unable to
meet its payment obligations to third parties in the United States and H&P-IDC was compelled
to loan money to H&P-V and make payments to third parties on H&P-V’s behalf.

129. Direct Ejj"ects on H&P-[DC irl the Ur)ileal States Plaintiff H&P-IDC, as parent
corporation to H&P-V, provided significant managerial, technical, and other support throughout
H&P-V’s operations in Venezuela, and expected H&P-V to remit dividends in return. H&P-IDC
acquired, sold, and shipped from the United States parts and equipment for the maintenance,
repair,-and servicing ofthe drilling rigs and related machinery in Venezuela.

130. H&P-IDC provided management guidance and oversight, as well as logistical
support from the United States

131. H&P-IDC provided or facilitated legal, accounting, compliance, human resources

information technology, internal auditing, purchasing, health and safety, and other back-office

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support from the United States Some of H&P-V’s officers and senior managers were on the
U.S. Dollar, U.S.-based payroll of H&P-IDC.

132. H&P-lDC reviewed and approved strategic and important management and
operational decisions taken by H&P-V. These decisions included, for example, whether to make
or liquidate capital investments whether and when to move rigs and other assets from one region
to another or into or out of Venezuela, and whether and when to enter into new contracts or
extend existing contracts

133. When the PDVSA Defendants breached their contractual obligations H&P-V was
compelled to idle its rigs in Venezuela. H&P-IDC and third parties in turn, stopped selling and
shipping parts and equipment for the maintenance, repair, operation, and servicing ofthe drilling
rigs directly affecting the operations and bottom line of H&P-IDC and third parties in the United
States

134. Due to the breaches of contract, H&P-V stopped purchasing the parts equipment,
and services that it normally purchased in the United States in order to maintain, repair, operate,
and service the drilling rigs and related equipment in connection with regular drilling operations
The cessation of demand for parts services and equipment directly and immediately affected
H&P-V’s and the third parties’ commercial transactions in the United States

135. When the PDVSA Defendants breached their contractual obligations H&P-IDC
subsidized or loaned money to H&P-V by paying for certain expenses and overhead costs ofthat
entity, thereby reversing the flow of funds (which should have flowed from H&P-V to H&P-
lDC), with direct effect on the books and bottom line of the U.S. parent corporations

136. Effect on U.S. Business Operatz`ons. When the PDVSA Defendants breached their

contractual obligations H&P was compelled to actively pursue payment from the PDVSA

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Defendants including by writing demand letters developing and proposing payment plans and
considering settlement possibilities Those activities were carried out in the United States at the
headquarters of the U.S, parent corporation, and elsewhere in the United States

137. H&P was compelled to negotiate with the PDVSA Defendants on the telephone
from the United States and in a face-to-face meeting in Houston, Texas. H&P also had to send
personnel from the United States to Venezuela to provide accounting and other support in the
process of responding to PDVSA’s failure to make its contractually obligated payments

138. E]jfects of the Expropriarz'on. The expropriation of H&P-V’s business operations
had direct effects on H&P-IDC by causing it to incur substantial costs

139. Venezuela’s expropriation of the rigs deprived H&P-IDC ofits ownership and
control of H&P-V, and deprived H&P-IDC ofits subsidiary and its business as a going concern,
directly impacting the operations and bottom line of H&P-IDC.

140. Venezuela’s expropriation ofthe rigs directly impacted U.S.-based management
and activities in support of H&P-V, shifting from management and support ofa going concern to
a collection and negotiation effort.

141. H&P, lnc. was compelled to accept and publicly disclose in the United States
material losses

142. H&P had to change strategy and shift deployment of U.S. personnel to operations
in different countries or regions as a systemic, direct result of Defendants failure to pay tens of
millions of U.S, Dollars under the contracts

143. The expropriation also directly affected third party vendors of H&P-V in the

United States who no longer had a role supporting its Venezuelan operations

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§I__. Defendants’ Commercial Activities in the United States

144. The PDVSA Defendants are engaged in significant commercial activity in the
United States defined by the FSlA as “a regular course of commercial conduct or a particular
transaction or act.” 28 U.SC. § 1605(a)(3). For example, the PDVSA Defendants have entered
into long-term contracts with U.S. partners and engaged in commercial activity specific to the
instant case

145. The United States is currently Venezuela’s most important trading partner, with
bilateral trade topping 37.4 billion U.S. Dollars in 2009. That same year, Venezuela and PDVSA
shipped an average of 1.1 million barrels of crude oil and petroleum products per day to the
United States

146. ln addition, Venezuela has imported from the United States billions ofU.S.
Dollars worth of oil and gas machinery such as drilling rigs derricks pumps and valves for use
by the PDVSA Defendants and other entities

147. United States companies publicly identify PDVSA as a contractual partner and
apparently a customer in the United States For example, U,S.-based PGl Energy, lnc and BGl
Contractors LLC, which formed a joint venture focusing on the fabrication of drilling rigs for its
existing contract orders count PDVSA as a current customer. Similarly, American Piping
Products which is headquartered in l\/lissouri, recently completed a pipe supply contract with
PDVSA.

148. PDVSA’s public financial reporting reflects extensive sales the company and its
subsidiaries make to customers in the United States During the nine-month period ending

September 30, 2010, PDVSA and its subsidiaries made sales to customers in the United States in

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excess of 23 billion U.S. Dollars an increase of more than four billion U.S. Dollars as compared
to the same time frame in 2009.

149. PDVSA also engages in extensive commercial activity in the United States with
its U.S.-based subsidiary, ClTGO, which describes itself as “PDVSA’s principal outlet for heavy
sour crude oil in the U.S. market.” (Emphasis added).

150. Under a contract set to expire lanuary l, 2012, PDVSA is obligated to supply
ClTGO a minimum quantity of 10,000 barrels per day of naphtha, which is used primarily as
feedstock for producing high octane gasoline

151. PDVSA also enters into agreements with ClTGO for management and
administration of the procurement of equipment and other goods and services for PDVSA.
PDVSA pays ClTGO for these services by offsetting amounts payable under a crude oil supply
contract between CITGO and PDVSA.

152. PDVSA also engaged in a loan transaction in the United States when it borrowed
one billion U.S. Dollars from CITGO in December 2007. PDVSA still holds the loan and, on
information and belief, continues to make periodic payments to ClTGO in the United States to
maintain that loan.

153. PDVSA also owns a 50-percent stake in Hovensa LLC, ajoint venture with the
Hess Corporation located on St. Croix, U.S. Virgin lslands Hovensa is one of the largest oil
refineries in the world, with a daily processing capacity of 500,000 barrels per day. Hovensa
processes crude oil primarily supplied by PDVSA and distributes it as gas and heating oil in the
United States On information and belief, PDVSA sends tankers carrying crude oil into U.S.

territory to supply the Hovensa refinery.

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154. PDVSA is also the immediate parent of Bitor America Corporation, a petroleum
wholesale distribution company that was incorporated in Delaware in 1989 and has a business
address in Boca Raton, Florida.

155. PDVSA owns a 50-percent stake in Chalmette Refining, LLC, a petroleum
refinery in Chalmette, Louisiana. Chalmette Refining, LLC has annual sales of $5.6478 billion
and employs 600 employees

156. PDVSA-P is also engaged in commercial activity in the United States F or
example, on December 1, 2008, PDVSA-P and ClTGO entered into a crude oil supply agreement
set to expire l\/Iarch 31, 2012, with automatic renewals for successive l2-month terms unless
terminated by either party. Under the contract, ClTGO purchases 250,000 barrels of oil per day
from PDVSA-P for ClTGO’s refineries in Lake Charles, Louisiana, and Corpus Christi, Texas
which, on information and belief, PDVSA ships to the United States

157. These long-term supply contracts aimed at and intended for the United States
market, are prototypical examples of commercial activity in the United States

158. The PDVSA Defendants have also engaged in extensive commercial activity in
the United States within the context ofthe instant case Specifically, on l\/lay 24, 2010, the
PDVSA Defendants met with l-l&P personnel at the headquarters of PDVSA’s indirect
subsidiary, ClTGC Petroleum Corporation, in Houston, Texas, to discuss a payment schedule for
past debt, as well as possible terms and conditions for H&P-V to re-commence drilling
operations Negotiating a potential commercial contract is itself a commercial activity.

159. Similarly, the PDVSA Defendants engaged in a commercial activity that relates
directly to the claims in this case when they agreed to make - and subsequently and repeatedly

made - payments in U.S. Dollars to a U.S. bank account in Tulsa, Oklahoma, pursuant to the

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drilling contracts and related agreements with H&P-V. Even standing alone, these payments
constitute commercial activities within the meaning ofthe FSIA.

_I_. The Inherent Unfairness and Partialitv of Venezuelan Courts

160. The Venezuelan judiciary is politically controlled by the Chavez regime, and it
lacks basic due process and impartiality As a result, and as previously alleged, private parties
cannot and do not prevail in litigation against the government, and private companies whose
property has been taken are unable to obtain just compensation in Venezuelan courts

161. The Venezuelan judiciary is politically controlled by President Chavez and the
political party he created in 2007, the United Socialist Party of Venezuela (“PSUV”). President
Chavez controls the National Assembly through Chavez loyalists in the PSUV, which won all
the seats two elections ago and an overwhelming majority of seats in the last election. President
Chavez controls the courts in part by controlling the National Assembly, the majority of which
belong to his party and support his regime; the National Assembly, in turn, is empowered to
appoint and remove justices on Venezuela’s highest court (the “Supreme Tribunal oflustice” or
“STJ”). See U.S. Department of State, 2010 Human Rights Report.' Venezuela (Apr. 8, 201 l).

162. President Chavez also contrived to dominate the STJ by inducing a simple
majority ofthe National Assembly to add nine more Chavez loyalists See U.S. Department of
State, Background Note: Venezuela (Sept. 2, 201 l).

163. The STJ, in turn, controls the lower courts by hearing appeals and also by
exercising its authority to hire and fire certain temporary judges “without cause or explanation.”
See U.S. Department of State, 2010 Hurnan Rights Report: Venezuela (Apr. 8, 201 l). As a

result, “all courts in the country . . . remain[] subject to strong executive control.” Ia’.

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164. These and other conditions have led to a lack of due process and impartiality in
Venezuelan courts ln recent years the Venezuelan judiciary has been plagued by “corruption,
inefficiency, and politicization,” as well as “trial delays and violations of due process.” See ia’.
The “judicial branch’s lack of independence and autonomy from the political branches of
government [have] made it one of the weakest pillars in Venezuelan democracy.” IACHR, 2010
Armual Reporr. ln a recent study, Venezuela ranked in the bottom 2.8 percent worldwide in
“Rule of Law” indicators and the bottom 8.1 percent in “Corruption” indicators See World
Bank Global Governance lndicator Data (2009).

165. l\/loreover, conditions in the Venezuelan judiciary have deteriorated since 2007.
The U.S. Department of State reports that the “[p]oliticization ofthejudiciary intensified
during [2009].” U.S. Department of State, 2009 Human Rights Report: Venezuela (l\/lar. 1 l,
2010). According to the Property Rights Alliance’s 201 1 Report, Venezuela’s “Control of
Corruption and Rule of Law” scores both “declined in 201 l, with the latter falling to the lowest
score in the world.”

166. As the Venezuelan judiciary has declined, there have been recent increases in
both the rate and number of removals of provisional judges who “can be easily removed when
they adopt decisions that could affect government interests.” See IACHR, Cozmtry Report:
Democracy anal Human Rights in Venezuela (Dec. 30, 2009).

167. ln February 201 l, a delegation ofthe lnternational Bar Association (“IBA”)
examined the Venezuelan judiciary and concluded that “the situation of the independence of the
judiciary has deteriorated significantly since the last visit ofthe [lBA] in 2007.” See lnt’l Bar
Assoc’n, Distrust in Justl`ce.' The Afz`um` Case arla' the Ina'epena’ence of the Juall'cl'ary in

Venezuela (Executive Samrnary) (April 201 l).

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168. Under these circumstances private parties especially U.S. Companies, now stand
no chance of prevailing in a Venezuelan court against the Chavez government According to a
recent academic study reported by the U.S. Department of State, the court that would have
appellate jurisdiction if this matter were litigated in Venezuela “ruled in favor of the government
in 324 of the 325 cases brought by private citizens against the government.” See U.S.
Department of State, 2009 Hu)nan Rights Reporl: Venezuela. On information and belief, the
sole case decided in favor of a private party “was later annulled by the Constitutional Chamber
of the Supreme Tribunal of Justice, by using a special power that had never before been used in
Venezuelan judicial history. Likewise, from October 2009 to October 2010, the Venezuelan
high court “rejected 90 percent of judicial cases” against instrumentalities of the government
“and all 21 legal actions against President Chavez.” See U.S. Department of State, 2010 Hurnan
Rights Report.' Venezuela.

169. Venezuelan judges who have decided cases against the Chavez government have
been reversed and removed. There is a “long list ofjudges who have been removed after
handing down decisions that affected government interests.” lACHR, Counrry Reporl:
Democracy and Human Rights in Venezuela (Dec. 30, 2009). Venezuelan judges are “not free to
adopt decisions that go against the government’s interests; ifthey do, they run the risk of being
removed from the bench, prosecuted and subjected to conditions that violate human dignity.”
See lACl~lR, 2010Annaal Reporl (l\/lar. 7, 201 l); see also U.S. Department of State, 2010
Human Rights Reporl.' Venezuela.

170. For example,' three court of criminal appealsjudges were removed one day after
releasing a number of anti-government demonstrators See lACHR, 2010 Annual Report. ln

another recent example, government agents stormed the courtroom of a Venezuelan judge and

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arrested her within minutes of her issuing a decision that a detainee’s rights had been violated by
the government Two days after her arrest, President Chavez publicly called for her
imprisonment for 30 years as a lesson to otherjudges. Id. She was subsequently imprisoned and
subjected to physical mistreatment Id.

171. Proceedings in the Venezuelan courts cannot result in adequate relief here for the
additional reason that, even in the unlikely event the Venezuelan courts award compensation,
they could do so only in Venezuelan currency. Payment in a non-convertible currency does not
constitute “just compensation” under international law. The Venezuelan currency is non-
convertible Foreign currency exchanges are controlled by the Venezuelan government’s
Commission for the Administration of Foreign Exchange (“CADlVl”), which “often delays or
refuses the applications of private companies limiting or denying their access to foreign
exchange” See Bureau of Economic, Energy and Business Affairs, U.S. Department of State,
2010 lnvestment Clz`rnale Statemenl: Venezuela (l\/larch 201 l). lndeed, CADlVl has refused for
years to grant H&P-V’s pending applications to exchange Bolivars for U.S. Dollars for the
purpose of remitting dividends to the United States

Count I

(Taking in Violation of International Law)

172. Plaintiffs re-allege and repeat the allegations as against all Defendants as
contained in paragraphs 1-171, above

173. Defendant Venezuela is a foreign sovereign, and a “foreign state” within the
meaning of the FSlA.

174. Defendants PDVSA and PDVSA-P are agencies or instrumentalities of

Venezuela, and are therefore “foreign states” within the meaning of FSlA.

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175. The PDVSA Defendants have extensive commercial activities in the United
States including billions of U.S. Dollars in oil exports to the United States

176. H&P-IDC is a U.S. company that wholly owns H&P-V. Under Venezuelan law,
PlaintiffH&P-V is a “foreign” company, required to register as such, and it is a foreign national,
with respect to Venezuela, under international law.

177. Prior to the expropriation, Plaintiffs had full ownership of the business and assets
that were confiscated

178. Today, pursuant to the official acts of Defendant Venezuela, the PDVSA
Defendants own and operate the business and assets that were confiscated

179. Defendants’ acts of expropriation are in violation of international law.

180. Defendants’ confiscation of Plaintiffs business and assets is discriminatory, based
on Plaintiffs’ status as foreign (i.e., U.S.) companies vis-a-vis Venezuela, and/or Plaintiffs’
connections to the United States

181. Defendants’ confiscation of Plaintiffs’ business and assets was undertaken
without prompt, adequate, and effective compensation l\/lore than a year has passed since the
unlawful taking and Defendants have failed entirely to provide any adequate forum and process
to obtain compensation much less an actual payment of prompt, adequate, and effective
compensation, as required by international law. Venezuelan legal process will never provide
prompt, adequate, and effective compensation for the seized business and assets

Count II
(Breach of Contract)

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Count ll(A)_Contract No. 4600013176

182. H&P-V re-alleges and repeats the allegations as against the PDVSA Defendants
as contained in paragraphs 1-171 above

183. The parties entered into a valid contract concerning the operation of H&P’s Rig
HP-l60 in Venezuela, Contract No. 4600013176, as amended by the 61-39 Agreement
(collectively, “Contract No, 4600013176”).

184. Contract No. 4600013176 provided for drilling services to be performed by
H&P-V and paid for by the PDVSA Defendants on a “daywork” contract basis

185 . Contract No. 4600013176 was supported by consideration and was entered into
by individuals with the requisite authority and capacity to do so.

186. Contract No. 4600013176 required the PDVSA Defendants to pay for drilling
operations

187. The PDVSA Defendants failed to make timely and complete payments as
obligated to do so under Contract No. 4600013176. Amounts remain due under Contract No.
4600013176.

188. The breach of Contract No. 4600013176 occurred outside the United States in
Venezuela, and was in connection with commercial activity elsewhere

189. The breach of Contract No. 4600013176 had direct effects in the United States

190. Plaintiffs have fully performed any and all obligations under Contract No.
4600013176. ln addition to performing the requisite drilling and other services Plaintiffs
complied with those provisions regarding invoicing for work performed

191 . Defendants’ failure to timely and completely pay Plaintiffs as required under

Contract No. 4600013176 have directly harmed Plaintiffs

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Count ll(B)_Contract No. 4600016461

192. H&P-V re-alleges and repeats the allegations as against the PDVSA Defendants
as contained in paragraphs 1-171 above

193. The parties entered into a valid contract concerning the operation of H&P’s Rig
HP-135 in Venezuela, Contract No. 4600016461.

194. Contract No. 4600016461 provided for drilling services to be performed by
H&P-V and paid for by the PDVSA Defendants on a “daywork” contract basis

195. Contract No. 4600016461 was supported by consideration and was entered into
by individuals with the requisite authority and capacity to do so.

196. Contract No. 4600016461 required the PDVSA Defendants to pay for drilling
operations

197. The PDVSA Defendants failed to make timely and complete payments as
obligated to do so under Contract No. 4600016461. Amounts remain due under Contract No.
4600016461.

198. The breach of Contract No. 4600016461 occurred outside the United States in
Venezuela, and was in connection with commercial activity elsewhere

199. The breach of Contract No. 4600016461 had direct effects in the United States

200. Plaintiffs have fully performed any and all obligations under Contract No.
4600016461. ln addition to performing the requisite drilling and other services Plaintiffs
complied with those provisions regarding invoicing for work performed

201. Defendants’ failure to timely and completely pay Plaintiffs as required under

Contract No. 4600016461 have directly harmed Plaintiffs

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Count ll(C)~Contract No. 4600017135

202. H&P-V re-alleges and repeats the allegations as against the PDVSA Defendants
as contained in paragraphs 1-171, above

203. The parties entered into a valid contract concerning the operation of H&P’s Rig
HP-l 13 in Venezuela, Contract No. 4600017135, as amended by the 61-39 Agreement
(collectively, “Contract No. 4600017135”).

204. Contract No. 4600017135 provided for drilling services to be performed by
H&P-V and paid for by the PDVSA Defendants on a “daywork” contract basis

205. Contract No. 4600017135 was supported by consideration and was entered into
by individuals with the requisite authority and capacity to do so.

206. Contract No. 4600017135 required the PDVSA Defendants to pay for drilling
operations

207. The PDVSA Defendants failed to make timely and complete payments as
obligated to do so under Contract No. 4600017135. Amounts remain due under Contract No.
4600017135.

208. The breach of Contract No. 4600017135 occurred outside the United States in
Venezuela, and was in connection with commercial activity elsewhere

209. The breach'of Contract l\lo. 4600017135 had direct effects in the United States

210. Plaintiffs have fully performed any and all obligations under Contract No.
4600017135. ln addition to performing the requisite drilling and other services Plaintiffs
complied with those provisions regarding invoicing for work performed

21 l. Defendants’ failure to timely and completely pay Plaintiffs as required under

Contract No. 4600017135 have directly harmed Plaintiffs

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Count ll(D)~Contract No. 4600017140

212. H&P-V re-alleges and repeats the allegations as against the PDVSA Defendants
as contained in paragraphs 1-171 above

213. The parties entered into a valid contract concerning the operation of H&P’s Rig
HP-115 in Venezuela, Contract No. 4600017140, as amended by the 61 -39 Agreement
(collectively, “Contract No. 4600017140”).

214. Contract No. 4600017140 provided for drilling service-s to be performed by
H&P-V and paid for by the PDVSA Defendants on a “daywork” contract basis

215. Contract No. 4600017140 was supported by consideration and was entered into
by individuals with the requisite authority and capacity to do so.

216. Contract No. 4600017140 required the PDVSA Defendants to pay for drilling
operations

217. The PDVSA Defendants failed to make timely and complete payments as
obligated to do so under Contract No. 4600017140. Amounts remain due under Contract No.
4600017140.

218. The breach ofContract No. 4600017140 occurred outside the United States in
Venezuela, and was in connection with commercial activity elsewhere

219. The breach of Contract No. 4600017140 had direct effects in the United States

220. Plaintiffs have fully performed any and all obligations under Contract No.
4600017140. ln addition to performing the requisite drilling and other services Plaintiffs
complied with those provisions regarding invoicing for work performed

221. Defendants’ failure to timely and completely pay Plaintiffs as required under

Contract No. 4600017140 have directly harmed Plaintiffs

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Count ll(E)-~Contract No. 4600017141

222. l-l&P-V re-alleges and repeats the allegations as against the PDVSA Defendants
as contained in paragraphs 1-171 above

223. The parties entered into a valid contract concerning the operation of l-l&P’s Rig
HP-127 in Venezuela, Contract No. 4600017141, as amended by the 61-39 Agreement
(collectively, “Contract No. 4600017141”).

224. Contract No. 4600017141 provided for drilling services to be performed by
H&P-V and paid for by the PDVSA Defendants on a “daywork” contract basis

225. Contract No. 4600017141 was supported by consideration and was entered into
by individuals with the requisite authority and capacity to do so.

226. Contract No. 4600017141 required the PDVSA Defendants to pay for drilling
operations

227. The PDVSA Defendants failed to make timely and complete payments as
obligated to do so under Contract l\lo. 4600017141. Amounts remain due under Contract No.
4600017141. 1

228. The breach of Contract No. 4600017141 occurred outside the United States in
Venezuela, and was in connection with commercial activity elsewhere

229. The breach of Contract No. 4600017141 had direct effects in the United States

230. Plaintiffs have fully performed any and all obligations under Contract No.
4600017141. ln addition to performing the requisite drilling and other services Plaintiffs
complied with those provisions regarding invoicing for work performed

231. Defendants’ failure to timely and completely pay Plaintiffs as required under

Contract No. 4600017141 have directly harmed Plaintiffs

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Count ll(l~`l_Contract No. 4600017142

232. H&P-V re-alleges and repeats the allegations as against the PDVSA Defendants
as contained in paragraphs 1-171 above

233. The parties entered into a valid contract concerning the operation of H&P’s Rig
HP-128 in Venezuela, Contract No. 4600017142, as amended by the 61-39 Agreement
(collectively, “Contract No. 4600017142”).

234. Contract l\lo. 4600017142 provided for drilling services to be performed by
H&P-V and paid for by the PDVSA Defendants on a “daywork” contract basis

235. Contract No. 4600017142 was supported by consideration and was entered into
by individuals with the requisite authority and capacity to do so.

'236. Contract No. 4600017142 required the PDVSA Defendants to pay for drilling
operations

237. The PDVSA Defendants failed to make timely and complete payments as
obligated to do so under Contract l\lo. 4600017142. Amounts remain due under Contract No.
4600017142.

238. The breach of Contract No. 4600017142 occurred outside the United States in
Venezuela, and was in connection with commercial activity elsewhere

239. The breach of Contract No. 4600017142 had direct effects in the United States

240. Plaintiffs have fully performed any and all obligations under Contract No.
4600017142. ln addition to performing the requisite drilling and other services Plaintiffs
complied with those provisions regarding invoicing for work performed

241. Defendants’ failure to timely and completely pay Plaintiffs as required under

Contract No. 4600017142 have directly harmed Plaintiffs

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Count ll(G)~Contract No. 4600017143

242. H&P-V re-alleges and repeats the allegations as against the PDVSA Defendants
as contained in paragraphs 1-171 above

243. The parties entered into a valid contract concerning the operation of H&P’s Rig
HP-129 in Venezuela, Contract l\lo. 4600017143, as amended by the 61-39 Agreement
(collectively, “Contract No. 4600017143”). n

244. Contract No. 4600017143 provided for drilling services to be performed by
H&P-V and paid for by the PDVSA Defendants on a “daywork” contract basis

245. Contract No. 4600017143 was supported by consideration and was entered into
by individuals with the requisite authority and capacity to do so.

246. Contract No. 4600017143 required the PDVSA Defendants to pay for drilling
operations

247. The PDVSA Defendants failed to make timely and complete payments as
obligated to so under Contract No. 4600017143. Amounts remain due under Contract No.
4600017143.

248. The breach of Contract No. 4600017143 occurred outside the United States in
Venezuela, and was in connection with commercial activity elsewhere

249. The breach of Contract No. 4600017143 had direct effects in the United States

250. Plaintiffs have fully performed any and all obligations under Contract No.
4600017143. ln addition to performing the requisite drilling and other services Plaintiffs
complied with those provisions regarding invoicing for work performed

251. Defendants’ failure to timely and completely pay Plaintiffs as required under

Contract No. 4600017143 have directly harmed Plaintiffs

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Count ll (l-l)_Contract No. 4600017145

252. H&P-V re-alleges and repeats the allegations as against the PDVSA Defendants
as contained in paragraphs 1-171 above

253. The parties entered into a valid contract concerning the operation of H&P’s Rig
HP-150 in Venezuela, Contract No. 4600017145, as amended by the 61-39 Agreement
(collectively, “Contract No. 4600017145”).

254. Contract No. 4600017145 provided for drilling services to be performed by
H&P-V and paid for by the PDVSA Defendants on a “daywork” contract basis

255. Contract No. 4600017145 was supported by consideration and was entered into
by individuals with the requisite authority and capacity to do so.

256. Contract No. 4600017145 required the PDVSA Defendants to pay for drilling
operations

257. The PDVSA Defendants failed to make timely and complete payments as
obligated to do so under Contract No. 4600017145. Amounts remain due under Contract No.
4600017145.

258. The breach of Contract No. 4600017145 occurred outside the United States in
Venezuela, and was in connection with commercial activity elsewhere

259. The breach of Contract No. 4600017145 had direct effects in the United States

260. Plaintiffs have fully performed any and all obligations under Contract No.
4600017145. ln addition to performing the requisite drilling and other services Plaintiffs
complied with those provisions regarding invoicing for work performed

261 . Defendants’ failure to timely and completely pay Plaintiffs as required under

Contract No. 4600017145 have directly harmed Plaintiffs

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Count ll(l)_Contract No. 4600017146

262. H&P-V re-alleges and repeats the allegations as against the PDVSA Defendants
as contained in paragraphs 1-171 above

263. The parties entered into a valid contract concerning the operation of H&P’s Rig
HP-l 53 in Venezuela, Contract No. 4600017146, as amended by the 61-39 Agreement
(collectively, “Contract No. 4600017146”).

264. Contract No. 4600017146 provided for drilling services to be performed by
H&P-V and paid for by the PDVSA Defendants on a “daywork” contract basis

265. Contract No. 4600017146 was supported by consideration and was entered into
by individuals with the requisite authority and capacity to do so.

266. Contract No. 4600017146 required the PDVSA Defendants to pay for drilling
operations

267. The PDVSA Defendants failed to make timely and complete payments as
obligated to do so under Contract No. 4600017146. Amounts remain due under Contract No.
4600017146.

268, The breach of Contract No. 4600017146 occurred outside the United States in
Venezuela, and was in connection with commercial activity elsewhere

269. The breach of Contract No. 4600017146 had direct effects in the United States

270. Plaintiffs have fully performed any and all obligations under Contract No.
4600017146. ln addition to performing the requisite drilling and other services Plaintiffs
complied with those provisions regarding invoicing for work performed

271. Defendants’ failure to timely and completely pay Plaintiffs as required under

Contract No. 4600017146 have directly harmed Plaintiffs

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Count ll(J)_Contract No. 4600017147

272, H&P~V re-alleges and repeats the allegations as against the PDVSA Defendants
as contained in paragraphs 1-171 above

273, The parties entered into a valid contract concerning the operation of H&P’s Rig
HP-174 in Venezuela, Contract No. 4600017147, as amended by the 61-39 Agreement
(collectively, “Contract No. 4600017147”).

274. Contract No. 4600017147 provided for drilling services to be performed by
H&P-V and paid for by the PDVSA Defendants on a “daywork” contract basis

275, Contract No. 4600017147 was supported by consideration and was entered into
by individuals with the requisite authority and capacity to do so.

276. Contract No. 4600017147 required the PDVSA Defendants to pay for drilling
operations

277. The PDVSA Defendants failed to make timely and complete payments as
obligated to do so under Contract No. 4600017147 Amounts remain due under Contract No.
4600017147.

278. The breach of Contract No. 4600017147 occurred outside the United States in
Venezuela, and was in connection with commercial activity elsewhere

279. The breach of Contract No. 4600017147 had direct effects in the United States

280. Plaintiffs have fully performed any and all obligations under Contract No.
4600017147. ln addition to performing the requisite drilling and other services Plaintiffs
complied with those provisions regarding invoicing for work performed

281. Defendants’ failure to timely and completely pay Plaintiffs as required under

Contract No. 4600017147 have directly hanned Plaintiffs

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RELIEF REQUESTED

282. WHEREFORE, Plaintiffs request that this Court award a judgment on all Counts
and award it such damages and compensation including interest, attorneys fees costs and such

other relief as this Court may deem just.

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Dated: September 23, 2011 Respectfully submitted,

   

 

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